Cage 2:20-cv-11147-FWS-SK Document 403 Filed 03/09/23 Page 1of4 Page ID #:15693

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FILED
CLERK, U.S. DISTRICT COURT

MAR - 9 2023

 

 

 

 

 

CENTRAL DISTRICT OF CALIFORNIA
BY Mla DEPUTY

 

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

DEON JONES,

Plaintiff,

Vv.

PETER BUENO,

Defendants.

 

"

Case No.: 2:20-cv-11147-FWS-SK

VERDICT FORM

 
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1 VERDICT FORM

3 We, the jury in the above-entitled case, find the following verdict on the questions

4 || submitted to us:
6 || Plaintiff Deon Jones’ First Amendment Claim:

8 1. Did Plaintiff Deon Jones prove by a preponderance of the evidence that
9 || Defendant Peter Bueno retaliated against Plaintiff Deon Jones in violation of the First
10 ||} Amendment to the Constitution of the United States of America?

11
12 Yes No _%

13
14 2. Did Plaintiff Deon Jones prove by a preponderance of the evidence that
15 || Defendant Peter Bueno discriminated against Plaintiff Deon Jones based on Plaintiff
16 |} Deon Jones’s viewpoint in violation of the First Amendment to the Constitution of the
17 |] United States of America?

18

19 Yes No__X
20
21 3. Did Plaintiff Deon Jones prove by a preponderance of the evidence that

22 || Defendant Peter Bueno violated Plaintiff Deon Jones’s right to record matters of public
23 |}interest under the First Amendment to the Constitution of the United States of America?
24
25 Yes No %

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Plaintiff Deon Jones’ Fourth Amendment Claim:

4. Did Plaintiff Deon Jones prove by a preponderance of the evidence that
Defendant Peter Bueno violated Plaintiff Deon Jones’s right to be free from an
unreasonable seizure of his person under the Fourth Amendment to the Constitution of

the United States?
Yes xX No
Plaintiff Deon Jones’ Fourteenth Amendment Claim:

5. Did Plaintiff Deon Jones prove by a preponderance of the evidence that
Defendant Peter Bueno’s conduct shocked the conscience, thereby violating the Plaintiff
Deon Jones’s rights under the Fourteenth Amendment to the Constitution of the United

States of America?
Yes No

If you have answered “Yes” to any of Question Nos. 1—5, please proceed to
Question Nos. 6 and 7. If you have answered “No” to all of Question Nos. 1-5, do not

proceed any further, and have your presiding juror sign and date this verdict form.

Damages:

6. Having found in favor of Plaintiff Deon Jones and against Defendant Peter

Bueno on at least one of the Plaintiff Deon Jones’s claims above, the jury assesses:

 

Damages in the following amount: $ VAR 00O

-2-

 

 
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Punitive Damages Liability:

7. Did Plaintiff Deon Jones prove by a preponderance of the evidence that
Defendant Peter Bueno’s conduct toward Plaintiff Deon Jones was malicious, oppressive,

or in reckless disregard of the Plaintiff Deon Jones’ rights?

Yes X No

Please sign and date this form, then return it to the Court.

Dated: NIKE C4 4, 2°24

 

Signed: R e DACTED .

Presiding Juror

 

 

 
